Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 1 of 22 Pageid#:
                                  18394
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 2 of 22 Pageid#:
                                  18395
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 3 of 22 Pageid#:
                                  18396
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 4 of 22 Pageid#:
                                  18397
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 5 of 22 Pageid#:
                                  18398
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 6 of 22 Pageid#:
                                  18399
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 7 of 22 Pageid#:
                                  18400
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 8 of 22 Pageid#:
                                  18401
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 9 of 22 Pageid#:
                                  18402
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 10 of 22 Pageid#:
                                  18403
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 11 of 22 Pageid#:
                                  18404
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 12 of 22 Pageid#:
                                  18405
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 13 of 22 Pageid#:
                                  18406
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 14 of 22 Pageid#:
                                  18407
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 15 of 22 Pageid#:
                                  18408
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 16 of 22 Pageid#:
                                  18409
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 17 of 22 Pageid#:
                                  18410
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 18 of 22 Pageid#:
                                  18411
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 19 of 22 Pageid#:
                                  18412
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 20 of 22 Pageid#:
                                  18413
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 21 of 22 Pageid#:
                                  18414
Case 3:17-cv-00072-NKM-JCH Document 1135 Filed 09/30/21 Page 22 of 22 Pageid#:
                                  18415
